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MINUTE ENTRY
FALLON, J.
OCTOBER 8, 2008

| UNITED STATES DISTRICT COURT

: EASTERN DISTRICT OF LOUISIANA

! MDL NO. 1657
IN RE: VIOXX :

PRODUCTS LIABILITY LITIGATION SECTION: L
| JUDGE FALLON

MAG. JUDGE KNOWLES

THIS DOCUMENT RELATES TO: Case No. 06-3674

The Court is in receipt of the attached letters from Edward Earl Thomas. The letters shall
be made a part of the record for informational purposes for Plaintiffs’ Liaison Counsel and the

Pro Se Curator.

JS10(00:00)

